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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLORADO

 Civil Action No. 19-cv-03507-MEH

 RENT-RITE SUPERKEGS WEST LTD, as Chapter 11 Debtor-in-Possession for the
 Estate of Rent-Rite SuperKegs West,
 YOSEMITE MANAGEMENT, LLC, a Colorado limited liability company, and
 THOMAS S. WRIGHT,

       Plaintiffs,

 v.

 WORLD BUSINESS LENDERS, LLC,

       Defendant.

                                SCHEDULING ORDER

      Rent-Rite SuperKegs West Ltd., as Chapter 11 Debtor-in-Possession for the

estate of Rent-Rite SuperKegs West Ltd (“Rent-Rite”), Yosemite Management, LLC,

(“Yosemite Management”), and Thomas S. Wright (“Wright’) (collectively, the “Plaintiffs’),

along with World Business Lenders, LLC (the “Defendant”) (all collectively the “Parties”),

hereby submit this Proposed Scheduling Order.

       1. Date of Conference and Appearances of Counsel and Pro Se Parties

      The pre-scheduling conference was held on January 22, 2020 at 1:30 pm

mountain time, by teleconference. Patrick Vellone and Lance Henry of Allen Vellone

Wolf Helfrich & Factor P.C., 1600 Stout Street, Suite 1100, Denver, Colorado 80202,

(303) 534-4499 appeared on behalf Plaintiff Rent-Rite SuperKegs West LTD. Jeffrey

Brinen of Kutner Brinen, P.C., 1660 Lincoln Street, Suite 1850, Denver, Colorado

80264, (303) 832-2400, appeared on behalf of Plaintiff Yosemite Management, LLC.

Phillip Jones of William, Turner & Holmes, P.C., 744 Horizon Court, Suite 115, Grand


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Junction, Colorado 81506, (970) 242-6262, appeared on behalf of Defendant World

Business Lenders, LLC.

                                 2. Statement of Jurisdiction

       This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 which

provides that “the district courts shall have original jurisdiction of all civil actions arising

under the Constitution, laws, or treaties of the United States,” and pursuant to 28

U.S.C. § 1334, which provides that “the district courts shall have original but not

exclusive jurisdiction of all civil proceedings arising in or related to cases under title 11,”

given that the Plaintiff bring claims pursuant to the following federal statutes: 11 U.S.C.

544, 548, 550, and 551.

       This Court also has subject matter jurisdiction pursuant to 28 U.S.C. 1332(a)(1)

given that the amount in controversy exceeds $75,000 and the Plaintiffs are citizens of

different states than the Defendant. The Plaintiffs are all residents of Colorado and the

Defendant is a resident of New York, and none of the members of the Defendant limited

liability company are residents of Colorado.

                            3. Statement of Claims and Defenses

   The claims of Plaintiffs are based upon a fraudulent loan transaction made in favor of

a non-party and involving the grant of a lien against Property having significant value, and

for which no consideration was offered in exchange.

       A.      Plaintiffs

       Plaintiff Rent-Rite. Rent-Rite asserts the following claims:

       (1) Avoidance of Fraudulent Transfers pursuant to 11 U.S.C. § 544;

       (2) Avoidance of Fraudulent Transfers pursuant to C.R.S. § 38-8-105 and 106;

       (3) Avoidance under 11 U.S.C. § 548; and

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      (4) Recovery of Avoidable Transfers pursuant to 11 U.S.C. §§ 550 and 551.

            Plaintiff Yosemite Management, LLC. Yosemite Management asserts one

            claim for relief for Avoidance of Fraudulent Transfers pursuant to C.R.S. § 38-

            8-105 and 106.

            Plaintiff Thomas S. Wright. Mr. Wright asserts one claim for relief for

            Avoidance of Fraudulent Transfers pursuant to C.R.S. § 38-8-105 and 106.

      B.       Defendant

      Defendant, World Business Lenders, LLC (WBL) denies the transfer of any

interest in the Property from Yosemite Management to or for the benefit of WBL was a

fraudulent transfer and did not reduce Yosemite Management’s assets and that

Yosemite Management received a benefit in exchange for any such transfer.

      Defendant, WBL, further denies any such transfer is voidable by Rent-Rite under

11 U.S.C. 550, 544, 548, 551 or 38-8-105 and 106.

      Defendant, WBL, has raised as affirmative defenses any claims by the Plaintiffs

against WBL are barred by the doctrine of res judicata and collateral estoppel. Further

that any such claims have been waived.

                                     4. Undisputed Facts

      1.       Rent-Rite is a Colorado limited liability company with its principal place of

business in Aurora, Colorado.

      2.       Rent-Rite is currently the debtor-in-possession in bankruptcy case number

17-21236-TBM, pending before the United States Bankruptcy Court for the District of

Colorado.

      3.       Yosemite Management is a Colorado limited liability company with its

principal place of business in Aurora, Colorado.

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        4.    Yosemite Management is the predecessor-in-interest to the real property

now owned by Rent-Rite.

        5.    Yosemite Management is a guarantor on the loan documents.

        6.    Mr. Wright is a resident of the State of Colorado.

        7.    Mr. Wright is the 100% owner/member of both Rent-Rite and Yosemite

Management.

        8.    World Business Lenders (“WBL”) is a New York limited liability company

with its principal place of business in Jersey City, New Jersey.

        9.    On or around April 19, 2016, the Business and Promissory Note and

Security Agreement was executed in the principal amount of $550,000.00 (“Note”).

        10.   The Note was between CMS Facilities Maintenance, Inc. as Borrower and

the Bank of Lake Mills as Lender.

        11.   On June 13, 2016, Bank of Lake Mills formally assigned the Note and

Deed of Trust to WBL.

        12.   Bank of Lake Mills is an FDIC insured, Wisconsin state-chartered bank.

        13.   WBL is not a national or state-chartered bank.

        14.   The Note is secured by a Deed of Trust on the Property.

        15.   Neither Yosemite Management, Rent-Rite, nor Mr. Wright executed the

Note.

        16.   CMS Facilities made substantial payments under the loan, paying

approximately $641,000 through approximately January 2017, at which time CMS

Facilities defaulted.




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       17.    As a result of the default, on or around March 28, 2017, WBL filed a

Complaint against Borrower and the Guarantors, seeking foreclosure upon the Property

(the “Litigation”). The action was filed in Arapahoe County District Court, Case No.

2017CV30714.

       18.    At the time the Litigation was commenced, according to the WBL

Complaint filed, the amount due under the WBL Note was “the sum of $283,811.01 on

the principal; interest through February 1, 2017 in the amount of $29,401.93; NSF fees

of $1,575.00; prepayment penalty of $4,264.03; plus accrued interest therein from

February 1, 2017.”

       19.    Rent-Rite’s Schedules of Assets and Liabilities in its Bankruptcy listed

$5,156,660.77 in assets and $4,175,034.98 in liabilities.

       20.    On February 26, 2018, WBL filed a Proof of Claim that stated the amount

due and owing was $658,652.95. The Proof of Claim further identified the annual

interest rate of 120.86%.

       21.    Based upon the 120.86% rate, the amount due and owing at present is

over $1 million, which amount continues to accrue.

       22.    In the course of Rent-Rite’s bankruptcy, the Property was sold for

purposes of paying lien holders according to their priority. As the amount of WBL’s

claim is in dispute, a significant part of the proceeds from the sale of the Property have

been placed in escrow.

                            5. Plaintiffs’ Computation of Damages

       Damages, in the form of the value of the lien granted to the Defendant by

Yosemite Management, i.e. the fraudulent transfer, is estimated to be at least $1.75

million. Damages in the form of usurious and unlawful interest paid or to be paid by
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Thomas Wright or Rent-Rite is estimated to exceed $1 million.

             6. Report of Preconference Discovery and Meeting Under Rule 26(f)

        A.      Date of Rule 26(f) meeting: January 22, 2020

        B.      See Section 1, supra, for the name of each participant in the Rule 26(f)

meeting

        C.      In accordance with FED. R. CIV. P. 26(a)(1)(C), Rule 26(a)(1) disclosures

will be made within fourteen days of the Rule 26(f) meeting, which will be February 28,

2020.

        D.      No changes in the timing or requirements under Rule 26(a)(1) are

requested.

        E.      The Parties anticipate the us of a unified exhibit numbering system to

reduce discovery and other litigation costs.

        F.      The Parties anticipate that a significant portion of the evidence will involve

electronically stored information (ESI) and propose the following protocols for the

exchange of such information:

        All ESI production shall include image files, native files, and OCR text recognition

(“ESI Production”). ESI Production exchanges will be made through external hard drive

media or through a secured shareable download link. Root directories of Media will

contain ESI Production in the form of images, native files, unless withheld for privilege,

and document level text files. Files will be saved to customary Image / Native / Text

formatted folders. A fourth directory, will be Data, will contain load files. Load files

provided will include: (1) Production Keys (BegDoc, EndDoc, BegAtt, EndAtt or their

equivalents); (2) Attachment reference files; (3) Metadata load files; (4) Opticon files;

and (5) Text Relative Path file reference.
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       Files will be in the following format: (1) Image files will be prepared for commonly

exchanged email and file formats (pst, msg, eml), attachments, tif, pdf, and word

processing files; (2) Spreadsheet files (xls, xlsx, xlsm) will be provided in native format

only. Spreadsheets will be treated as exceptions with a “See Native File” placeholder

referencing the endorsed file name; (3) Audio and video provided in native format; (4)

Exceptions other than spreadsheets may also be provided with an image placeholder.

Text shall be extractable for all native files containing text. For Metadata fields: (1)

Native file should link by way of Native Relative Path field in load file; (2) Loadfile fields

should accompany images, as well as include and reference native files and contain at

minimum the following fields: BegDoc; EndDoc; BegAtt; EndAtt; Native Relative Path;

File Name; Author; Email subject; Email SentTime (Date and time, UTC); Date Modified

(Date and time, UTC); File Type Description; Extension; Page Count; Native size; Email

Sender; Email To; Email CC; Email Bcc; and OCR Relative Path; (3) Email and

attachments to emails should be linked.

       G.     The Parties believe that there is a possibility of resolving or settling the

case after initial discovery is completed and request that a settlement conference with

Magistrate Judge Hegarty be scheduled accordingly.

                                          7. Consent

       All parties have consented to the exercise of jurisdiction of Magistrate Judge

Hegarty.




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                                8. Discovery Limitations

        A.   The Parties consent to no more than ten depositions and no more than

twenty-five interrogatories as provided by Rule 30(d)(1) and 33(a)(1) respectively.

        B.   The Parties consent to depositions being no more in length than seven

hours, as provided by Rule 30(d)(1).

        C.   The Parties consent to twenty requests for the production of documents

and twenty requests for admission.

        D.   Before filing a motion for an order relating to a discovery dispute, the

movant must request a conference with the Court by submitting an email, copied to all

parties, to hegarty_chambers@cod.uscourts.gov. See Fed. R. Civ. P. 16, cmt. 2015

Amendment.

                               9. Case Plan and Schedule

        A.   The deadline for joinder of parties and the amendment of pleadings shall

be March 29, 2020.

        B.   The discovery cutoff shall be August 15, 2020.

        C.   The deadline for the filing of dispositive motions shall be October 13,

2020.

        D.   Expert Witness Disclosure.




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              i.           the anticipated fields of expert testimony are (1) real estate

       valuation; (2) banking; (3) financial fraud; and (4) the quantification of damages.

             ii.           The Parties shall designate all experts and provide opposing

       counsel and any pro se parties with all information specified in Rule 26(a)(2) on

       or before June 15, 2020.

             iii.          The Parties shall designate all rebuttal experts and provide

       opposing counsel any pro se party with all information specified in Rule 26(a)(2)

       on or before July 15, 2020.

       E.           Identification of persons to be deposed by the Plaintiffs: (1) World

Business Lenders, LLC pursuant to Rule 30(b)(6); (2) Darrell Hornbacher; (3) John

BeeBee; (4) Craig Heber; (5) Angele Hebee; (6) Judy Purcell; (7)–(10) those other

persons identified in the course of discovery.

       F.           Identification of persons to be deposed by the Defendant: (1) Rent-Rite

Superkegs West, LTD pursuant to Rule 30(b)(6); Yosemite Management, LLC pursuant

to Rule 30(b)(6), Thomas S. Wright and such other persons identified in the course of

discovery.

       G.           The Parties consent to serve all interrogatories on opposing counsel or a

pro se party at least thirty days prior to the discovery cutoff date.

       H.           The Parties consent to serve all request for the production of documents

and requests for admissions on opposing counsel or a pro se party at least thirty days

prior to the discovery cutoff date.




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                                10. Dates for Further Conferences

           A.    Status conferences will be held in this case at the following dates and

 times: As needed.

           B.    A final pre-trial conference will be held in this case: On December 14,

 2020 at 10:45 o’clock a.m. A final pre-trial order shall be prepared by the Parties and

 submitted to the Court no later than seven days before the final pre-trial conference.

                                   11. Other Scheduling Matters

           A.    Despite a good faith effort, the Parties have been able to reach agreement

 on all issues set forth in this scheduling order.

           B.    The trial will be one to a jury and the anticipate length of trial is five days.


                            12. Notice to Counsel and Pro Se Parties

           The parties filing motions for extension of time or continuances must comply with

 D.C.COLO.LCivR 6.1(c) by submitting proof that a copy of the motion has been served

 upon the moving attorney's client, all attorneys of record, and all pro se parties.

           Counsel will be expected to be familiar and to comply with the Pretrial and Trial

 Procedures or Practice Standards established by the judicial officer presiding over the

 trial of this case.

           With respect to discovery disputes, parties must comply with D.C.COLO.LCivR

 7.1(a).

           Counsel and unrepresented parties are reminded that any change of contact

 information must be reported and filed with the Court pursuant to the applicable local

 rule.




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                          13. Amendments to the Scheduling Order

          this Scheduling Order may be altered or amended only upon a showing of good

 cause.

          DATED at Denver, Colorado, this 12th day of February, 2020.

                                              BY THE COURT:


                                               S/Michael E. Hegarty
                                              Michael E. Hegarty
                                              United States Magistrate Judge

 Approved by:

  /s/Jennifer E. Schlatter                         /s/Philip J. Jones
  Patrick D. Vellone, Bar No. 15284                Phillip J. Jones, Bar No. 20536
  Jennifer E. Schlatter, Bar No. 30626             Williams, Turner & Holmes, P.C.
  Allen Vellone Wolf Helfrich & Factor P.C.        744 Horizon Court, Suite 115
  1600 Stout Street, Suite 1100                    Grand Junction, Colorado 81506
  Denver, Colorado 80202                           (970) 242-6262
  (303) 534-4499                                   pjones@wth-law.com
  pvellone@allen-vellone.com
  jschlatter@allen-vellone.com                     Attorneys for World Business Lenders,
                                                   LLC
  Attorneys For Plaintiffs Rent-Rite
  SuperKegs West LTD


  /s/Jeffrey Brinen                                /s/Thomas S. Wright
  Jeffrey Brinen                                   Thomas S. Wright
  KUTNER BRINEN, P.C.                              1400 Yosemite Street
  1660 Lincoln St. Suite 1850                      Aurora, Colorado 80220
  Denver, CO 80264                                 twright@twges.com
  (303) 832-2400
  jsb@kutnerlaw.com                                Pro se litigant

  Attorneys For Yosemite Management, LLC




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